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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                               )
Christopher & Deborah Piazza                         )      Bankruptcy No. 12 B 38006
                                                     )
___________________________________                  )      Judge Bruce W. Black (Joliet)
                                                     )
Bank of America, N.A.                                )      Chapter 7
                                 Plaintiff           )
               v.                                    )      Adv. No. 13 A 00695
                                                     )
Christopher Piazza and Deborah Piazza,               )
                             Defendants              )


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       NOW COME the Defendants, Christopher Piazza and Deborah Piazza, by and through their

attorneys, David P. Lloyd, Ltd., and, in response to Plaintiff’s Motion for Summary Judgment, state

as follows:

       This portion of Defendants' response constitutes its memorandum of law in opposition to

Plaintiff’s motion. Defendants separately file their response to Plaintiff’s Proposed Statement of

Undisputed Facts and exhibits.

       Plaintiff has alleged two grounds under which the Defendants may be denied a discharge.

First, Plaintiff alleges that Deborah Piazza knowingly and fraudulently made a false oath in

connection with the Chapter 11 case of Piazza Masonry, Inc., as provided in Section 727(a)(4) and

Section 727(a)(7). It should be noted that this claim is not against Christopher Piazza, as only

Deborah Piazza signed the declarations under oath in the Piazza Masonry case.

       Second, Plaintiff alleges that Christopher Piazza destroyed recorded information, including

books, documents, records, and papers, of Piazza Masonry, without justification, by burning those
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records. Again, it should be noted that this claim is not against Deborah Piazza, as only Christopher

Piazza burned the records. Plaintiff’s motion seeks summary judgment on both claims.

       The primary purpose for granting a summary judgment motion is to avoid
       unnecessary trials when there is no genuine issue of material fact in dispute.
       Trautvetter v. Quick, 916 F.2d 1140, 1147 (7th Cir.1990); Farries v.
       Stanadyne/Chicago Div., 832 F.2d 374, 378 (7th Cir.1987) (quoting Wainwright
       Bank & Trust Co. v. Railroadmen's Federal Sav. & Loan Ass'n of Indianapolis,
       806 F.2d 146, 149 (7th Cir.1986)). Where the material facts are not in dispute, the
       sole issue is whether the moving party is entitled to a judgment as a matter of law.
       ANR Advance Transp. Co. v. International Bhd. of Teamsters, Local 710, 153
       F.3d 774, 777 (7th Cir.1998).

In re Rosenzweig, 97 B 38192, 1999 WL 569446 (Bankr. N.D. Ill. July 12, 1999)

       The burden is on the moving party to show that no genuine issue of material fact
       is in dispute. Anderson, 477 U.S. at 248; Matsushita, 475 U.S. at 585–86; Celotex,
       477 U.S. at 322.
       All reasonable inferences drawn from the underlying facts must be viewed in a
       light most favorable to the party opposing the motion. Parkins v. Civil
       Constructors of Ill., Inc., 163 F.3d 1027, 1032 (7th Cir.1998).

In re Rosenzweig, 97 B 38192, 1999 WL 569446 (Bankr. N.D. Ill. July 12, 1999)

       In our recent decision in First National Bank Co. v. Insurance Company of North
       America, 606 F.2d 760 (7th Cir. 1979), we approved a district court's granting of
       partial summary judgment resolving issues of fraud. We noted that although a
       district court is not to try issues of fact in a summary judgment proceeding, it has
       the power to penetrate the pleadings and look at any evidentiary source to
       determine whether summary adjudication is appropriate. Id. at 767. A genuine
       issue of fact is raised where the facts alleged would constitute a legal defense if
       proven. Id. at 766. Once a showing has been made by the movant, the burden rests
       upon the opposing party to show that “he has a ground of defense fairly arguable,
       and of a substantial character.” Id. at 767.

Fed. Deposit Ins. Corp. v. Lauterbach, 626 F.2d 1327, 1335 (7th Cir. 1980)

       Intent to defraud involves a material representation that you know to be false, or,
       what amounts to the same thing, an omission that you know will create an
       erroneous impression. E.g., Athey Products Corp. v. Harris Bank Roselle, 89 F.3d
       430, 434 (7th Cir.1996); Marcus v. AT & T Corp., 138 F.3d 46, 63 (2d Cir.1998);
       Restatement (Second) of Torts § 526 (1965)…A denial of knowledge may be so
       utterly implausible in light of conceded or irrefutable evidence that no rational
       person could believe it; and if so, there is no occasion to submit the issue of
       knowledge to determination at a trial. Seshadri v. Kasraian, 130 F.3d 798, 801–02
       (7th Cir.1997), and cases cited there; United States v. Premises Known as 717 S.


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       Woodward St., 2 F.3d 529, 533–34 (3d Cir.1993); United States v. One Parcel of
       Property Located at 15 Black Ledge Drive, 897 F.2d 97, 102 (2d Cir.1990).

In re Chavin, 150 F.3d 726, 728, Bankr. L. Rep. P 77736, 1998 WL 407167 (7th Cir. 1998)

       Defendants agree that the Piazza Masonry, Inc., Chapter 11 was filed within one year

prior to the filing of the present case; that Deborah Piazza signed two declarations under oath

regarding schedules and statement of financial affairs in the Piazza Masonry case; and that the

schedules and statement of financial affairs were inaccurate, and, therefore, the declarations were

false. Defendants deny that Deborah Piazza knowingly and fraudulently made the false oaths.

       Ordinarily the issue of fraudulent intent is an intensely factual one, and is not typically

ripe for summary judgment. In some cases, courts have found sufficient intent without the

necessity of trial; for example, “where a debtor is an experienced businessman, he may not be

able to avoid responsibility for fraudulent omissions on the basis of counsel's errors.” In re

Ardisson, 272 B.R. 346, 359, 2001 WL 1715758 (Bankr. N.D. Ill. 2001). Additionally, when the

number of errors and omissions is very large, courts have found a “reckless disregard for the

truth” evident from the exhibits and tantamount to fraudulent intent.

       It is true that the Schedule B filed with Deborah Piazza’s declaration listed “none” for all

assets other than vehicles (in which were also included machinery and equipment such as

forklifts). Plaintiff may argue that the number of omissions—bank accounts, accounts receivable,

office equipment, other machinery and equipment—could constitute a reckless disregard for the

truth. However, the number of omissions or false statements does not necessarily evidence a

reckless disregard for the truth:

       As the bankruptcy court stated, “a showing of reckless disregard for the truth is
       sufficient to prove fraudulent intent.” Stamat, 635 F.3d at 982. But while “the
       cumulative number of false statements may, when taken together, evidence a
       reckless disregard for the truth sufficient to support a finding of fraudulent
       intent,” In re Duncan, 562 F.3d at 695, the Trustee points to no authority stating
       that a large number of omissions and false statements must amount to a reckless


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       disregard for the truth. The Seventh Circuit in Stamat analyzed the difference
       between making omissions and errors negligently and making them with a
       reckless disregard for the truth. Stamat, 635 F.3d at 982.

Manning v. Watkins, 212-CV-489-TLS, 2013 WL 3989412 (N.D. Ind. July 31, 2013)

       Defendants have established the following reasons for the filing of the declarations,

schedules, and statement of financial affairs containing omissions: The corporate debtor’s

attorney had already obtained one extension for filing schedules and explained that the

documents had to be filed immediately to avoid dismissal; there had not been enough time to

develop a completely accurate set of schedules; and, at any rate, the schedules and statement of

financial affairs could be amended when the complete information was available. Further,

Defendants had provided sufficient information to the corporate attorney that the attorney filed a

motion for use of cash collateral that included a budget and a full list of accounts receivable; and

this motion was filed on May 17, 2012, more than a week before the schedules and declarations

were filed. In addition, Defendants were communicating, through a family member, with the

corporate attorney regarding bank accounts at the beginning of the case (April 24, 2012), and

disclosed all the corporate accounts to him. Finally, as stated in Plaintiff’s statement of facts,

both Defendants testified in later proceedings as to the assets of the company and payment of

compensation to the Defendants and other employees.

       Amendments to schedules do not correct the falsity of prior documents, but they can be

relevant to the question of intent. Other voluntary disclosure, such as that contained in the cash

collateral motion, also bears on the question of intent. “Because a debtor attests under oath to the

accuracy of the schedules he signs, an error or omission can be a basis for denying discharge

under § 727(a)(4)(A). However, the fact that schedules are amended is relevant to the question of

intent to defraud. Although voluntary disclosure through testimony or an amendment to the




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schedules cannot expunge the falsity of an oath, it may be evidence of innocent intent.” In re

Ardisson, 272 B.R. 346, 359, 2001 WL 1715758 (Bankr. N.D. Ill. 2001) (citations omitted).

        Courts have found fraudulent intent without trial only in extraordinary cases. “…the

Seventh Circuit has cautioned in another decision under Code § 727(a) that except in extreme

cases, credibility questions relating to intent to defraud are to be left to the trier of fact to resolve

on the basis of oral testimony. For the case to be classified as extreme, the testimony sought to be

withheld from the trier of fact must be not just implausible, but utterly implausible in light of all

relevant circumstances. In re Ardisson, 272 B.R. at 359 (citing In re Chavin, 150 F.3d 726, 728).

        This is not one of those extreme cases. Defendants have put forth an explanation that is

not “utterly implausible”; Deborah Piazza was under a tight deadline imposed by her attorney;

her corporate attorney instructed her to file the false schedules immediately, on the assurance

that they could be amended later; she gave her attorney information about the company’s bank

accounts and other assets; her attorney filed court documents reflecting assets that were not listed

on the schedules; and both Defendants freely disclosed those corporate assets and transactions in

other proceedings. There is serious doubt as to any fraudulent intent by Deborah Piazza, and the

motion for summary judgment should be denied.

        Similarly, there is a material question of fact as to whether Christopher Piazza’s

destruction of the paper copies of records was justified under all the circumstances of the case, as

that term is used in Section 727(a)(3). First, there is a fine legal point to address. The records that

were burned were not personal financial records of the Debtors in this case, but records of Piazza

Masonry, Inc. Section 727(a)(7) provides for denial of a discharge if a debtor has destroyed

records “in connection with another case, under this title or under the Bankruptcy Act,

concerning an insider.” The destruction of the records occurred after the appointment of the




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receiver, which was on October 18, 2012. The Piazza Masonry case was dismissed on June 28,

2012. Christopher Piazza’s burning of the records took place nearly four months after the

dismissal of the Piazza Masonry case, and therefore was not “in connection with” that case.

Destruction of records, concealment of assets, or transfer of property of a non-debtor corporate

entity, even an insider, is not grounds for denial of discharge unless that action took place “in

connection with” a bankruptcy case concerning that insider.

          There is no evidence that Piazza Masonry concealed, destroyed, or failed to turn over any

assets or financial information in its Chapter 11 case. Nor is there any evidence that any of the

records burnt by Christopher Piazza were personal financial records of either Debtor in this case.

On that basis alone, the motion for summary judgment should be denied, and, in fact, Plaintiff’s

claim should be dismissed.

          Addressing the factual issues about the documents, it had been a longstanding practice of

Piazza Masonry to destroy old records by burning; Mr. Piazza was concerned that the company’s

employees’ confidential and personal information, including Social Security numbers, payroll

and employment information, and medical records could fall into the wrong hands; and the

entirety of the corporate records from which the Debtors’ financial condition or business

transactions might be ascertained were on a computer server that was placed in the hands of

Bank of America’s own receiver. That receiver was Alex D. Moglia, who is known to this Court

from his service as a panel trustee in this District. Mr. Piazza was surely justified in trusting that

Receiver Moglia would take good care of the business records. There is at least a material issue

of fact regarding the destruction of the records, and the motion for summary judgment should be

denied.




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       The Defendants are not sophisticated business or financial professionals; they ran a

masonry company. They were advised by counsel in their Chapter 11 case, and Mrs. Piazza took

his advice regarding the filing of documents. Mr. Piazza may have been rash or stubborn, as well

as environmentally unwise, in burning boxes of paper documents, but his act was justified by the

knowledge that the company’s financial records were available, electronically, to the company’s

largest creditor and under the safekeeping of a court-appointed receiver. The Defendants’

explanations for their actions are “fairly arguable, and of a substantial character.” They are not

“utterly implausible.” The Court should retain to itself the opportunity to listen to the testimony

of the witnesses and judge the demeanor of the Defendants in order to determine their intent. The

motion for summary judgment should be denied.




                                                     Respectfully submitted,
                                                     Christopher & Deborah Piazza


                                                     By:_____/s/ David P. Lloyd_______
                                                           Their attorney




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